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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION


    UNITED STATES OF AMERICA                         :    No. 22-mj-02369
                                                     :
                 v.                                  :    The Honorable Magistrate Judge
                                                     :    Lauren F. Louis
    ENRIQUE TARRIO,                                  :
    also known as “Henry Tarrio,”                    :
                    Defendant.

                              GOVERNMENT’S MEMORANDUM
                          IN SUPPORT OF MOTION FOR DETENTION

           The United States moves to detain Enrique Tarrio pending trial. A grand jury returned an

   indictment charging Tarrio with conspiracy to obstruct justice, by orchestrating a plot to corruptly

   obstruct, influence, and impede the Certification of the Electoral College Vote resulting from the

   2020 Presidential Election, including an attack on the United States Capitol on January 6, 2021.

   Based on the compelling evidence of Tarrio’s leadership of this conspiracy, there are no conditions

   of release that can reasonably assure the safety of the community or the defendant’s appearance in

   court. And based on Tarrio’s public comments aimed at chilling witnesses against his co-

   conspirators, as well as his own purported efforts to evade law enforcement, he poses a risk of

   obstructing justice should he be released. Pretrial detention is warranted and necessary.

      I.      Procedural Background

           On March 7, 2022, a grand jury in the District of Columbia returned an indictment (the

   Second Superseding Indictment or “SSI”) that charges Tarrio with conspiring with five co-

   conspirators—each of whom was previously charged and all of whom are detained pending trial

   before District of Columbia Judge Timothy J. Kelly. Tarrio is charged with one count of
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   Conspiracy to Obstruct an Official Proceeding, in violation of 18 U.S.C. § 1512(k); one count of

   Obstruction of an Official Proceeding, in violation of 18 U.S.C. § 1512(c)(2); one count of

   Obstruction of Law Enforcement During a Civil Disorder, in violation of 18 U.S.C. § 231(a)(3);

   two counts of Destruction of Government Property, in violation of 18 U.S.C. § 1361; and two

   counts of Assaulting, Resisting, or Impeding Certain Officers, in violation of 18 U.S.C.

   § 111(a)(1). Upon return of the indictment, a Magistrate Judge for the District of Columbia issued

   a warrant for Tarrio’s arrest. Tarrio was arrested on March 8, 2022, and he had his initial

   appearance before this Court on that same day.

           The United States moves for Tarrio’s pretrial detention pursuant to 18 U.S.C.

   § 3142(f)(1)(A), because this is a case that involves an offense listed in 18 U.S.C. § 2332b(g)(5)(B)

   for which a maximum term of imprisonment of 10 years or more is prescribed; pursuant to 18

   U.S.C. § 3142(f)(2)(A), because this case involves a serious risk of flight; and pursuant to 18

   U.S.C. § 3142(f)(2)(B), because this case involves a serious risk that the defendant will obstruct

   or attempt to obstruct justice, or threaten, injure, or intimidate, or attempt to threaten, injure, or

   intimidate, a prospective witness or juror. Here, Tarrio is subject to a rebuttable presumption in

   favor of detention because he is charged with felony destruction of government property (18

   U.S.C. § 1361), a statute listed in 18 U.S.C. § 2332b(g)(5)(B) that carries a maximum term of

   imprisonment of 10 years or more. 18 U.S.C. § 3142(e)(3)(C). The detention hearing is scheduled

   for Tuesday, March 15, 2022.




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       II.      Factual Background

             In the weeks leading up to January 6, 2021, Tarrio spearheaded a conspiracy to corruptly

   obstruct, influence, and impede the Certification of the Electoral College Vote resulting from the

   2020 Presidential Election. During that period, Tarrio was the national chairman of the Proud Boys

   organization, which describes itself as a “pro-Western fraternal organization for men who refuse

   to apologize for creating the modern world; aka Western Chauvinists.” Proud Boys members

   routinely attend rallies, protests, and other events, some of which have resulted in violence

   involving members of the group. Indeed, Proud Boys members, led by Tarrio, had a visible

   presence at rallies in Washington, D.C., protesting the outcome of the 2020 election in November

   and December 2020.

             During one of those events, which took place on December 12, 2020, Tarrio participated

   with a group of Proud Boys in the theft and destruction of a banner that belonged to a downtown

   Washington, D.C., church. Tarrio’s destructive act—burning a “#BLACKLIVESMATTER”

   banner—was caught on film. On December 17, 2020, Tarrio publicly boasted of his action and

   was unrepentant, asserting on social media, “Come get me if you feel like what I did was wrong.

   We’ll let the public decide.”

             On December 19, 2020, plans were announced for a protest in Washington, D.C., to

   coincide with Congress’s January 6 Certification of the Electoral College vote. Beginning in late

   December 2020, Tarrio created a new chapter for the Proud Boys, referred to as the Ministry of

   Self Defense or MOSD (“MOSD”). Tarrio described the MOSD as a “national rally planning”

   chapter that would include only “hand selected members.” Tarrio and the other MOSD leaders

   imposed a command-and-control structure on this new chapter. Tarrio identified the MOSD




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   leaders and organized them into an “Operational Council” and a “Marketing Council.” The MOSD

   leaders then, in turn, hand-selected Proud Boys to become members of the MOSD.

           On January 6, Tarrio’s men—the leaders and members of the MOSD—were at the front of

   the crowd that unlawfully breached the Capitol grounds and overran police lines meant to protect

   the Capitol and its occupants. Co-conspirator Dominic Pezzola was the first person to physically

   breach the Capitol when he used a stolen Capitol Police riot shield to break a window adjacent to

   the Senate Wing Door, which allowed the first members of the mob to breach the interior of the

   Capitol at 2:13 p.m. The certification of the Electoral College vote was almost immediately halted.

           Tarrio was not physically present at the Capitol on January 6. On January 4, he was arrested

   in Washington, D.C., for his December 12 burning of the “#BLACKLIVESMATTER banner. He

   was detained briefly, and upon his release on January 5, he was ordered to leave the District of

   Columbia. Tarrio nonetheless continued to exercise command and control over the MOSD, whose

   leaders on the ground sought Tarrio’s approval of the plan for January 6 later that evening. As the

   riot unfolded on January 6, Tarrio claimed credit for the scenes unfolding in and around the

   Capitol, posting a message on his social media account at 2:38 p.m. that read, “Don’t fucking

   leave,” and celebrated the success of the conspiracy in an encrypted chat for a small group of Proud

   Boys leadership, stating “Make no mistake…” and then “We did this…”

           A.      Tarrio Imposed a Command and Control Structure on the MOSD

           On December 20, 2020, the day after plans were announced for a “wild” protest in D.C. on

   January 6, Tarrio created an encrypted messaging group for use by MOSD leaders (the “MOSD

   Leaders Group”). SSI at ¶¶ 21, 30. The group included indicted co-conspirators Ethan Nordean,

   Joseph Biggs, Zachary Rehl, and Charles Donohoe, and several others. Id. This group was to form

   the nucleus of leadership in a new chapter of the Proud Boys organization, which Tarrio described



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   as a “national rally planning” chapter. Id. at ¶¶ 20, 30. The first event targeted by the group was

   the rally in D.C. on January 6. Id. at ¶ 21.

           Tarrio and the other MOSD leaders developed a command and control structure in

   anticipation of the Proud Boys’ return to Washington, D.C., for January 6. On December 20, 2020,

   Tarrio proposed a video chat, which took place on December 21, to discuss the MOSD chapter

   and January 6. Id. at ¶ 31. On December 27, 2020, Tarrio created another encrypted messaging

   group for prospects of the MOSD, which were to include only “hand selected members.” Id. at

   ¶ 33. Tarrio stressed that MOSD members were expected to follow directions of MOSD

   leadership, which Tarrio and others emphasized by telling members to “Fit in [] or fuck off.” Id.

           On December 29, 2020, Tarrio posted a message on social media that the Proud Boys

   planned to “turn out in record numbers on Jan 6th but this time with a twist . . .. We will not be

   wearing our traditional Black and Yellow. We will be incognito and we will be spread across

   downtown DC in smaller teams. And who knows . . . we might dress in all BLACK for the

   occasion.” Id. at ¶ 37.

           On December 29, 2020, Tarrio posted a message to the prospective MOSD members to

   notify them of a live session on December 30 to inform prospects “how this all works.” Id. at ¶ 38.

   Tarrio advised the group that the MOSD “will have a top down structure” and advised prospects

   that, “if that’s something you’re not comfortable with” they should not bother attending the live

   session. Id.

           At the December 30, 2020, live session, Tarrio and other MOSD leaders emphasized that

   MOSD members were to follow the commands of leadership. Id. at ¶ 42. During the call, another

   MOSD leader warned prospective members that January 6 was going to be a “completely different




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   operation,” and that the Proud Boys would not be conducting a “night march and flexing our [arms]

   and shit.” Id.

           B.       Tarrio and His Men Focused on the Capitol

           Communications between and among MOSD leaders and their hand-selected men

   repeatedly referenced the Capitol on January 6. On December 20, 2020, the same day that Tarrio

   created the MOSD leadership chat, another MOSD leader wrote, “I am assuming most of the

   protest will be at the capital building given what’s going on inside.” Id. at ¶ 31.

           On January 2, 2021, Tarrio created an encrypted message group for MOSD members. Id.

   at ¶ 46. The next day, members of that group discussed attacking the Capitol. One of Tarrio’s

   hand-selected MOSD members posted a message that read, “time to stack those bodies in front of

   Capitol Hill.” Messages exchanged among the group then turned specific, with one member

   asking, “so are the normies and other attendees going to push thru police lines and storm the capitol

   buildings? A few million vs A few hundred coptifa should be enough.” The next day, the same

   MOSD member raised the prospect again, asking, “what would they do [if] 1 million patriots

   stormed and took the capital building. Shoot into the crowd? I think not.” In response, an MOSD

   leader stated, “They would do nothing because they can do nothing.” Id. at ¶ 48.

           Tarrio encouraged these communications between MOSD members and leaders. For

   example, on December 31, 2020, at approximately 11:25 a.m., Tarrio posted a picture of co-

   conspirator Pezzola in D.C. during the December rally. Along with the picture, Tarrio posted the

   message: “Lords of War. #J6 #J20,” which hashtags are apparent references to January 6, the date

   of the Certification of the Electoral College vote, and January 20, the date of the presidential

   Inauguration. Id. at ¶ 44. Similarly, on January 1, Tarrio posted messages that related to revolution.




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   Id. at ¶ 45. Specifically, at 12:25 a.m., Tarrio posted, “Let’s bring this new year with one word in

   mind...Revolt.” At 2:56 p.m., Tarrio posted the message, “New Years Revolution.” Id.

             On January 3, as efforts to plan for January 6 intensified amongst MOSD leaders, Tarrio

   stated that he wanted to wait until January 4 to make final plans. Id. at ¶ 49. In response, another

   MOSD leader posted a voice message to the MOSD Leaders Group, at 7:10 p.m., in which he

   stated:

                    I mean the main operating theater should be out in front of the house
                    of representatives. It should be out in front of the Capitol building.
                    That’s where the vote is taking place and all of the objections. So,
                    we can ignore the rest of these stages and all that shit and plan the
                    operations based around the front entrance to the Capitol building. I
                    strongly recommend you use the national mall and not Pennsylvania
                    avenue though. It’s wide-open space, you can see everything
                    coming from all angles.

   Id. Another MOSD leader posted that the Capitol was a “good start.” Id.

             Throughout the night of January 3 into January 4, Tarrio and other MOSD leaders

   discussed logistics for January 6. On January 4, Tarrio posted a voice message, at 7:36 a.m., to the

   MOSD Leaders Group, where he stated, “I didn’t hear this voice note until now, you want to storm

   the Capitol.” Id. at ¶ 50. In context, this message was posted in response to the January 3 post that

   the main operating theater should be where “all of the votes are taking place and all of the

   objections.” Tarrio’s message regarding storming the capitol was posted in the MOSD Leaders

   Group, where all of the MOSD leaders would have seen it.

             C.     Even After His Arrest, Tarrio Continued to Direct the Conspiracy

             On January 4, 2021, Tarrio flew from Florida to Washington, D.C., where he was arrested

   and charged with destruction of property for his December 12 burning of the

   #BLACKLIVESMATTER banner and possession of two large capacity magazines. Id. at ¶ 22.

   Tarrio was detained overnight, and his phone was seized by law enforcement.


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           Shortly after Tarrio’s arrest, co-conspirator Donohoe created a new encrypted chat for

   MOSD leaders (the “New MOSD Leaders Group”). Id. at ¶ 51. MOSD leaders then discussed

   deleting their own MOSD communication history and expressed hopes that Tarrio had logged out

   of his chat application. Id. MOSD leaders then created a new MOSD Membership Group (“New

   MOSD Membership Group”) for MOSD members. Donohoe advised them, “Hey have been

   instructed and listen to me real good! There is no planning of any sorts. I need to be put into

   whatever new thing is created. Everything is compromised and we can be looking at Gang

   charges.” Id. at ¶ 53. Tarrio was not initially invited to either new group.

           Tarrio was released at approximately 5 p.m. on January 5, after having been ordered to

   leave the District of Columbia. Tarrio did not immediately comply with the order. Id. at ¶ 22.

   Instead, he travelled to an underground parking garage, located in downtown Washington, D.C.,

   where for approximately 30 minutes he met with a group of individuals that included Elmer

   Stewart Rhodes III, the founder and leader of the Oath Keepers. Id. at ¶ 23.1 A documentary film

   crew was present in the garage and, at one point, picked up audio of a person referencing the

   Capitol. Id. While in the parking garage, Tarrio told another individual that he had cleared all of

   the messages on his phone before he was arrested. Tarrio further stated that no one would be able

   to get into his phone because there were “two steps” to get into it.

           Thereafter, Tarrio left the District of Columbia and travelled to Baltimore, Maryland. That

   evening, Tarrio used the phones of associates to make a number of phone calls, and to log back

   into his encrypted messaging accounts. After having regained access to his accounts, Tarrio

   assured his men that his phone had not been compromised. Tarrio was subsequently added back

   into both the new MOSD Leaders Group and the new MOSD Members Group. Id. at ¶¶ 64, 66.


   1
          Rhodes is charged with Seditious Conspiracy, in violation of 18 U.S.C. § 2384, and related
   offenses in United States v. Elmer Stewart Rhodes III, et al., 22-cr-15 (APM).

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   Tarrio participated, posting at least one message in the New MOSD Leaders Group shortly after

   midnight on January 6. Id. at ¶ 67.

           On January 5, 2021, around 8:30 p.m., messages were posted to MOSD leaders and

   members that read: “Everyone needs to meet at the Washington Monument at 10am tomorrow

   morning! Do not be late! Do not wear colors! Details will be laid out at the pre meeting! Come out

   at as patriot!” Id. at ¶ 60. The command not to wear colors was consistent with an earlier directive

   from Tarrio.

           Communications among the group were clear. MOSD members were looking to Nordean

   and Biggs to take charge on the ground. And Nordean and Biggs were coordinating—and

   deferring—to Tarrio. At 9:09 p.m., an MOSD leader broadcast to the New MOSD Members Group

   that “Rufio [Nordean] is in charge.” Id. at ¶ 62. At 9:17 p.m., Biggs posted a message on New

   MOSD Leaders Group that read, “We just had a meeting woth a lot of guys. Info should be coming

   out” and then posted “Just spoke with Enrique [Tarrio].” Id. at ¶ 63.

           At approximately 9:20 p.m., Biggs posted a message to the New MOSD Leaders group

   that read, “We have a plan. I’m with rufio.” Id. at ¶ 65. Another MOSD leader responded, “What’s

   the plan so I can pass it to the MOSD guys.” Biggs responded, “I gave Enrique [Tarrio] a plan.

   The one I told the guys and he said he had one.” Id.

           D.      MOSD Leaders and Members Executed the Plan on January 6

           As described in greater detail in the Indictment, the Proud Boys played an instrumental role

   in the attack on the Capitol on January 6, 2021. After assembling at the Washington Monument

   shortly after 10 a.m, Nordean and Biggs led a group of Proud Boys and others from the Washington

   Monument to the west side of the Capitol, around the building to its east side, and back to the

   Peace Monument on the west side of the Capitol. Id. at ¶¶ 72-74. The “top-down” command



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   structure that Tarrio and his co-conspirators had emphasized was on display throughout the march.

   The group marched in formation, with Nordean, Biggs, and Rehl largely leading the way.

           Nordean and Biggs had positioned themselves at the First Street gate shortly before 1

   p.m.—the scheduled time for the certification to begin. Id. at ¶ 75. Within minutes of arriving at

   the First Street pedestrian gate at the Capitol, the leaders and members of the MOSD were among

   the first to unlawfully breach the Capitol grounds, and among the first of thousands to unlawfully

   occupy the plaza to the west of the Capitol. Id. at ¶¶ 77-78. Minutes later, Tarrio’s appointed

   leaders on the ground—co-conspirators Ethan Nordean and Joseph Biggs—moved to the front of

   the crowd and combined with others to destroy a black metal fence, which allowed the crowd to

   storm further onto the Capitol grounds. Id. at ¶¶ 80-82.

           At approximately 1:00 p.m., as Biggs filmed himself celebrating the “Storming” of the

   Capitol, one the MOSD leaders declared, in an encrypted chat for members of that group,

   “Storming the capital right now!!” Id. at ¶ 79. Nearly one hour later, MOSD leaders and members,

   including co-conspirators Biggs, Donohoe, and Pezzola, were among the first to overrun a police

   line leading from the West Plaza to the Upper West Terrace—closer to the building itself. Id. at ¶¶

   90-92. At 2:13 p.m., Pezzola was the first person to breach the Capitol. Id. at ¶ 93. Pezzola used a

   stolen Capitol Police riot shield to break a window adjacent to the Senate Wing Door on the Upper

   West Terrace, which allowed the first members of the mob to breach the interior of the Capitol.

   Id. at ¶ 93. The Electoral College certification was almost immediately halted. Id. at ¶ 95.

           E.      Tarrio Incited, Directed, and Admitted Responsibility for MOSD’s Attack on
                   the Capitol

           Just over 20 minutes after Pezzola breached the Capitol with a riot shield, Tarrio made a

   public post on social media that read, “After I finish watching this I’ll make a statement about my

   arrest...But for now I’m enjoying the show...Do what must be done. #WeThePeople.” Id. at ¶ 97.


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   At 2:38 p.m., Tarrio made a public post on social media that read, “Don’t fucking leave.” Id. at ¶

   99. At the time of this post, multiple MOSD members and leaders were inside the Capitol. At 2:41

   p.m., Tarrio made a public post on social media that read, “Proud Of My Boys and my country.”

   Id. at ¶ 103.

           Around this same time, a Proud Boys member posted in an encrypted message chat: “Are

   we a militia yet?” Tarrio responded with a one-word voice note, “Yep.” He then posted, “Make

   no mistake…” and then “We did this…” Id. at ¶ 100. Later that day, Tarrio posted a message in

   that same group chat that stated, “They’ll fear us doing it again…” A member of the group asked,

   “So what do we do now?” Tarrio responded at 4:14 p.m., “Do it again.”

           While Nordean and Biggs were moving in and out of the Capitol building, Tarrio attempted

   to communicate with them by phone. Id. at ¶ 105. Tarrio placed a phone call to Nordean at 2:53

   p.m. and to Biggs at 2:54 p.m. Id. Biggs had a 42 second call with Tarrio at 2:54 p.m. Id. Minutes

   before this call, Biggs had exited the Senate chamber and made his way outside the Capitol.

           At 11:16 p.m., Tarrio posted a message on social media that featured a video of a masked

   man resembling Tarrio, wearing a flowing black cape, standing in front of a deserted Capitol

   building. The video was captioned, “Premonition.” Id. at ¶ 107.

           F.      Tarrio’s Actions After January 6

           Unsurprisingly, in the days and weeks following January 6, Tarrio made self-serving

   exculpatory statements to try to distance himself from the actions of other Proud Boys members

   on January 6. On January 7, he told a member of law enforcement that he thought he could have

   stopped the whole thing, if he had been present. He told another individual that he was upset with

   the Proud Boys for having gone inside the building because they had strayed from his plan. He has

   also stated in public news interviews that while there was a plan, that plan did not include going



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   into buildings. See Proud Boys Leader Has No Sympathy for Lawmakers Targeted by Capitol Riot,

   CNN (Feb. 25, 2021), available at https://www.cnn.com/2021/02/25/politics/capitol-riot-proud-

   boys-enrique-tarrio-soh/index.html.

              By April 2021, four of Tarrio’s MOSD leaders had been indicted, charged, and detained in

   connection with the events of January 6. In July 2021, Tarrio sent a voice message to Proud Boys

   around the country. See EXCLUSIVE Proud Boys Leader Urged Group Not to ‘Turn on Each

   Other,’ Reuters (Sept. 9, 2021), available at https://www.reuters.com/world/us/exclusive-proud-

   boys-leader-urged-group-not-turn-each-other-riot-probe-2021-09-09/.        In that message, Tarrio

   addressed the possibility that one of the four leaders may have been cooperating with law

   enforcement. Tarrio denied this possibility, adding “[t]he moment that they think one of the guys

   flipped, it throws everything off and it makes everybody turn on each other, and that’s what we

   are trying to f---ing avoid.” Id.

              On July 19, 2021, Tarrio entered a plea of guilty in the District of Columbia to one count

   of destruction of property and one count of attempted possession of a large-capacity ammunition

   feeding device, in connection with the December 12 banner burning. On August 23, 2021, Tarrio

   was sentenced to 155 days in prison on these charges. Tarrio reported to the D.C. jail to serve this

   sentence on September 6, 2021; he was released on January 14, 2022.

       III.      Argument

              Pursuant to 18 U.S.C. § 3142(a), in relevant part, when a defendant is arrested, the Court

   “shall issue an order that, pending trial, the person be (1) released on personal recognizance . . . ;

   (2) released on a condition or a combination of conditions . . . ; or (4) detained under subsection

   (e).” Detaining a defendant under Section 3142(e) requires a hearing “pursuant to the provisions

   of subsection (f).” Id. at § 3142(e). If the Court determines after that hearing that “no condition or



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   combination of conditions will reasonably assure the appearance of the person as required and the

   safety of any other person and the community,” the Court must detain the defendant pending trial.

   Id. § 3142 (e)(1). The evidence more than establishes that Tarrio should be detained pending trial.

           A.      Bases for Detention Request

           According to Section 3142(f), there are limited circumstances in which the Court “shall

   hold a hearing to determine whether any condition or combination of conditions . . . will reasonably

   assure the appearance of such person as required and the safety of any other person and the

   community.” 18 U.S.C. § 3142(f); see also United States v. Munchel, 991 F.3d 1273, 1281 (D.C.

   Cir. 2021). Here, three of those circumstances apply: Subsection (f)(1)(A) (case involves an

   offense listed in 18 U.S.C. § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10

   years or more is prescribed); Subsection (f)(2)(A) (case that involves a serious risk of flight); and

   Subsection (f)(2)(B) (case that involves a serious risk that the defendant will obstruct or attempt

   to obstruct justice, or threaten, injure, or intimidate, or attempt to threaten, injure, or intimidate, a

   prospective witness or juror). All three bases for a detention hearing are supported by the evidence

   outlined above.

           The Bail Reform Act provides in this case a rebuttable presumption in favor of detention

   because the defendant is charged with an offense listed in 18 U.S.C. § 2332b(g)(5)(B), for which

   a maximum term of ten years or more is prescribed. See 18 U.S.C. § 3142(e)(3)(C). Specifically,

   in Counts Four and Five of the indictment, Tarrio is charged with destruction of government

   property with a value of more than $1,000, in violation of 18 U.S.C. § 1361, which is punishable

   by ten years of imprisonment. An “indictment alone [is] enough to raise the rebuttable presumption

   that no condition would reasonably assure the safety of the community.” United States v. Smith,

   79 F.3d 1208, 1210 (D.C. Cir. 1996).



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           This case also involves a serious risk of flight as defined in 18 U.S.C. § 3142(f)(2)(A). The

   defendant is facing potential conviction on numerous felony offenses that each carry statutory

   maximum penalties ranging from five to twenty years of incarceration. He is alleged to have

   organized a conspiracy to corruptly impede the Certification of the Electoral College vote—a

   process that is foundational to our democracy and to the rule of law—and thus his willingness to

   comply with conditions of release set by the Court is in doubt.

           Finally, this case also involves a risk of tampering with witnesses and evidence. As

   described above, Tarrio purported to have taken steps to prevent law enforcement from gaining

   access to encrypted messages on his phone when he was arrested on January 4, and he circulated

   messages to Proud Boys members that, coming from the national chairman of the organization,

   would have deterred cooperation with law enforcement. There is a serious risk that Tarrio would

   seek to tamper with key witnesses or evidence as these are identified for him through the discovery

   process.

           Under any of those three bases, a detention hearing is warranted because Tarrio should be

   detained pending trial to protect the community, ensure his return to court, and safeguard the

   integrity of evidence and the proceedings.

           B.      Analysis

           The Court must consider four factors to determine whether pretrial detention is warranted

   and necessary: (1) the nature and circumstances of the offense charged, including whether, for

   example, the offense is a crime of violence; (2) the weight of the evidence against the defendant;

   (3) the history and characteristics of the defendant; and (4) the nature and seriousness of the danger

   to any person or the community that would be posed by the defendant’s release. 18 U.S.C.

   § 3142(g). A judicial officer’s finding of dangerousness must be supported by clear and convincing



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   evidence. 18 U.S.C. § 3142(f); United States v. Stone, 608 F.3d 939, 945 (6th Cir. 2010). When

   “risk of flight” is the basis for detention, however, the government must only satisfy a

   preponderance of the evidence standard. United States v. Xulam, 84 F.3d 441, 442 (D.C. Cir.

   1996); United States v. Chimurenga, 760 F.2d 400, 405-06 (2d Cir. 1985); United States v. Fortna,

   769 F.2d 243, 250 (5th Cir. 1985); United States v. Orta, 760 F.2d 887, 891 (8th Cir. 1985); United

   States v. Motamedi, 767 F.2d 1403, 1406 (9th Cir. 1985). An analysis of these four factors weighs

   heavily in favor of Tarrio’s detention given the clear and convincing evidence that his release

   presents a particular danger to the community as well as the preponderance of evidence that he

   poses a serious risk of flight and of obstructing justice.

                 i.    Tarrio’s Criminal Activities Were Serious

           A grand jury has found probable cause to charge Tarrio with leading a conspiracy to

   corruptly obstruct, influence, and impede the certification of the Electoral College vote on January

   6, 2021. The evidence shows that dozens of men in his charge functioned as the tip of the spear

   for the mob on January 6, including by conducting assaults on law enforcement, leading a charge

   up the stairs to the Upper West Terrace of the Capitol grounds, occupying the Capitol grounds and

   building, and causing lawmakers to be evacuated and the proceedings to be suspended. It is

   difficult to imagine conduct that poses a graver risk to our society than leading a conspiracy

   targeted at corruptly undermining the laws and procedures at the heart of our democratic process.

   See United States v. Munchel, 991 F.3d 1273, 1283 (D.C. Cir. 2021) (“[T]o order a defendant

   preventatively detained, a court must identify an articulable threat posed by the defendant to an

   individual or the community. The threat need not be of physical violence, and may extend to ‘non-

   physical harms such as corrupting a union.’”) (citing United States v. King, 849 F.2d 485, 487 n.2

   (11th Cir. 1988)). As described in greater detail above and in the indictment, Tarrio was a leader



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   of the conspiracy; he created its leadership structure and organized the MOSD leaders into two

   Councils; he organized and administered planning meetings and chats on encrypted messaging

   applications; and he gave instructions to his charges, including continually stressing the top-down

   nature of MOSD. Following Tarrio’s January 4 arrest, the MOSD members did in fact follow the

   lead of the MOSD leaders on the ground on January 6 and achieved the conspiracy’s criminal

   objective. Because Tarrio was a central leader and coordinator of this conspiracy, this factor points

   in favor of detention.

                 ii.   The Weight of Evidence Against Tarrio is Strong2

           The weight of the evidence of Tarrio is strong. Tarrio’s electronic communications show a

   leader who dictated a “command and control” structure for the MOSD. That top-down structure

   continued even after Tarrio’s arrest, with Biggs speaking to him about the plan on January 5, and

   another MOSD leader stating that as soon as Tarrio got a “burner phone” he would take the reins

   back. Even the MOSD leaders who assumed command on the ground after Tarrio’s arrest, Nordean

   and Biggs, consulted with and deferred to Tarrio. Id. at ¶ 65 (Biggs, “I gave Enrique a plan. The

   one I told the guys and he said he had one.”).

           Beginning on December 20, 2020, Tarrio engaged in recruitment, planning, and

   coordination to ensure a formidable presence of Proud Boys members and affiliates in Washington,

   D.C. Tarrio’s planning, leadership, and the hand-selection of MOSD members ensured that those

   Proud Boys who came to Washington, D.C. on January 6 would follow the MOSD leaders’

   commands.

           The objective, as it developed in the weeks leading up to January 6, focused on the Capitol.

   On January 3, an MOSD leader stated “the main operating theater should be out in front of the


           2
           “This factor goes to the weight of the evidence of dangerousness, not the weight of the
   evidence of the defendant’s guilt.” Stone, 608 F.3d at 948 (citation omitted).

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   house of representatives. It should be out in front of the Capitol building. That’s where the vote is

   taking place and all of the objections.” Id. at ¶ 49. Tarrio understood this to be the criminal

   objective, stating on January 4, “I didn’t hear this voice note until now, you want to storm the

   Capitol.” Id. at ¶ 50.

           Even in Tarrio’s absence on January 5, the MOSD leaders consulted with him and sought

   his approval for the plan for January 6. Under Tarrio’s command and control scheme, Nordean

   and Biggs marched their men into place at a key entrance to the Capitol grounds. The timing of

   their arrival coincided with anticipated start of the Electoral College certification, scheduled to

   occur at 1 p.m. Consistent with a plan to have the “main operating theater” in front of the Capitol

   building, Tarrio’s men arrived in front of the Capitol at 12:50 p.m.

           MOSD leaders combined with others to tear down a fence within minutes of moving onto

   Capitol grounds. They then advanced on the Capitol, leading the dozens of Proud Boys they had

   marched to the Capitol. Nearly one hour later, Nordean, Biggs, Donohoe, and Pezzola joined

   efforts for a fateful push toward the Capitol, which allowed the crowd to begin to move up the

   stairs toward the Capitol building itself. Pezzola then used a stolen riot shield to bust open a

   window of the Capitol, which act unleashed the first wave of rioters into the building. Throughout,

   MOSD leadership directed and encouraged the actions.

           And Tarrio took credit for these actions. After rioters breached the Capitol, Tarrio told a

   senior group of Proud Boys leaders, “we did this.” He then publicly cheered on and encouraged

   the actions at the Capitol, announcing on social media, “don’t fucking leave.” Shortly after a 42

   second call with Biggs while Biggs was still on Capitol grounds, Tarrio posted again, “1776” and

   then “Revolutionaries are now at the Rayburn building.” The following day, Tarrio sent a message

   to the members of the MOSD in which he told them, “proud of y’all.”



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           There is overwhelming evidence that Tarrio organized a plot to corruptly obstruct,

   influence, and impede the certification of the Electoral College vote, an offense that strikes at the

   heart of our democracy. As District of Columbia Judge Timothy J. Kelly concluded in ordering

   Tarrio’s codefendant Pezzola detained, “the proffered evidence shows that Pezzola came to

   Washington, D.C. as a key member of a broader conspiracy to effectively steal one of our Nation's

   crown jewels: the peaceful transfer of power.” United States v. Pezzola, 531 F. Supp. 3d 139, 149

   (D.D.C. 2021) (Kelly, J.). On January 6, still hours before Congress was able to safely resume its

   constitutionally and statutorily required Certification of the Electoral College Vote, Tarrio posted

   a message to other Proud Boys leaders that said, “They’ll fear us doing it again…” A member of

   the group asked, “So what do we do now?” Tarrio responded at 4:14 p.m., “Do it again.”

           Under these circumstances, only pretrial detention can protect the community from the

   danger Tarrio poses.

                iii.   History and Characteristics of Tarrio

           Tarrio’s criminal history, and his record of non-compliance with Court orders, demonstrate

   a cavalier attitude toward the law that counsels strongly in favor of pretrial detention.

           Tarrio has seven adult arrests that have result in three convictions. On November 10, 2004,

   Tarrio was sentenced to three years of probation by a Miami, Florida, court, in felony case number

   04-016348A, for Dealing in Stolen Property and Grand Theft.

           On August 22, 2013, Tarrio was convicted of Conspiracy to Receive or Possess Stolen

   Goods, in violation of 18 U.S.C. § 371; Possessing, Concealing, Storing, Selling, and Disposing

   of Stolen Goods, in violation of 18 U.S.C. § 2315; Transporting, Transmitting, and Transferring

   Stolen Goods in Interstate Commerce, in violation of 18 U.S.C. § 2314; and Misbranding FDCA

   Devices While Held for Sale after Shipment in Interstate Commerce, in violation of 21 U.S.C. §§



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   331(k), 352(a), and 333(a)(2). See United States v. Tarrio, Case No. 1:12-cr-20947-JAL, ECF 107

   (S.D. Fla. 2013). This conviction stemmed from Tarrio’s participation in a conspiracy to

   unlawfully profit by receiving, possessing, and reselling stolen diabetic test strips, manufactured

   by Abbot Laboratories. Id. at ECF 1.

           Tarrio entered a plea of guilty and was originally sentenced to 30 months’ incarceration,

   followed by two years of supervised release. Id. at ECF 107. The Court calculated a total loss

   amount of $1,200,000, and on December 13, 2013, Tarrio stipulated and agreed to be jointly and

   severally liable to pay restitution to Abbott Laboratories. Id. at ECF 125. On December 17, 2014,

   the Court reduced Tarrio’s sentence to 16 months of imprisonment after the government filed a

   motion pursuant to Fed. R. Crim. P. 35. Id. at ECF 148. That order did not amend Tarrio’s Court-

   ordered restitution requirement. To date, Tarrio has failed to satisfy this restitution order; he and

   his coconspirators have remitted only approximately $7,300 (Tarrio’s contribution is $1,879),

   which comprises less than 2% of the total amount ordered by the Court.

           Finally, as discussed in detail above, Tarrio was arrested on January 4, 2021, and charged

   with destruction of property for his burning of the #BLACKLIVESMATTER banner on December

   12th, and possession of two large capacity magazines. While under Court supervision in that

   pending case, Tarrio: (1) on January 5, remained in downtown Washington, D.C., where he met

   with Elmer Stewart Rhodes III, the founder and leader of the Oath Keepers, in violation of a Court

   order to leave Washington, D.C.; (2) on January 5, repeatedly reassured others that he had taken

   all necessary steps to prevent law enforcement from gaining access to encrypted messages on his

   phone; (3) on January 5-6, exercised command and control over the MOSD, whose leaders on the

   ground sought Tarrio’s approval of the plan for January 6; (4) on January 6, took credit for the

   MOSD leaders’ and members’ successful attack on the Capitol, which fulfilled the objective of



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   the conspiracy he is charged with in this case; and (5) in July 2021, posted a voice message to deter

   Proud Boys from cooperating with law enforcement.

           On July 19, 2021, Tarrio entered a plea of guilty in the District of Columbia to one count

   of destruction of property and one count of attempted possession of a large-capacity ammunition

   feeding device, in connection with the December 12 banner burning. On August 23, 2021, Tarrio

   was sentenced to a prison term of 155 days in prison on these charges. Tarrio reported to the D.C.

   jail to serve this sentence on September 6, 2021; he was released on January 14, 2022.

                iv.    Danger to the Community and Risk of Flight Posed by Tarrio’s Release

           Finally, Tarrio is a danger to the community. He spearheaded a conspiracy to corruptly

   obstruct, influence, and delay Congress’ Certification of the Electoral College vote. Tarrio created

   the MOSD, and was instrumental in choosing its leaders and members and imposing a strict top-

   down command model. On January 6, the MOSD breached the Capitol causing the certification of

   the Electoral College vote to be immediately halted. Tarrio directed and orchestrated the MOSD’s

   violent acts entirely remotely -- using encrypted media and social media in the weeks leading up

   to January 6, and on the day itself, to organize, direct, and celebrate the success of a criminal

   conspiracy to obstruct the Certification of the Electoral College vote. Tarrio took a lead role in

   orchestrating this plot, which led to multiple assaults on members of law enforcement, a siege on

   the U.S. Capitol, and a delay in the peaceful transfer of power. “Make no mistake…we did this.”

   Afterwards, Tarrio told other senior Proud Boy leaders that the next step was to “do it again.” The

   danger posed by this plot shows an extreme disregard for the safety of the community and the laws

   of the United States.




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       IV.      Conclusion

             A grand jury has found probable cause to believe that Tarrio was a lead orchestrator of plot

   to corruptly obstruct, influence, and impede an official proceeding—specifically, a plot that

   included an attack on the Capitol while a Joint Session of Congress reviewed the election results.

   He encouraged the mob to stay in the building and suggested to close confidants that they should

   do it again. In so doing, Tarrio showed a contempt for the laws and Constitution of this country

   that make it impossible to trust that he would comply with any conditions fashioned by this Court

   for his release. Tarrio must be detained pending trial to protect the safety of the community, ensure

   his return to Court, and safeguard the integrity of evidence and the proceedings.

                                           Respectfully submitted,

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